JS 44 (Rev. 10/20)

CIVIL COVER SHEET A5C 5 57

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local rules
of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

Place an “X” in the appropriate box (required): [7] Green Bay Division Milwaukee Division

T sabErOVEGATS LRERASNTS

ate
EDW!
County of Residence of First Listed Defendant MILWAUKEE COUNTY
(IN U.S. PLAINTIFF CASES ONLY)

CLERK USDC
(b) County of Residence of First Listed Plaintiff MILWAUKEE COUNTY * 7}
(EXCEPT IN U.S. PLAINTIFF CASES)

‘ “ hb NOTE 4 IN LAND CONDEMNATION CASES, USE THE LOCATION OF
2023 OC} £2 EP t+ 3 THE TRACT OF LAND INVOLVED.
(S} aitiemeys ax Name, Address, and Telephone Number) Attomeys (if Known)
1314 SOUTH FIRST STREET NOT KNOWN

MILWAUKEE, WI 53204

IZ BASIS OF JURISDICTION (Place an “x” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[]1 U.S. Government DX] 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [11 [J 1 _ Incorporated orPrincipal Place f14 (44
of Business In This State
[_]2 U.S. Government [_]4 Diversity Citizen of Another State []2 [] 2 Incorporated andPrincipal Place [] 5 []5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a [13 [J 3 Foreign Nation Lle (6
Foreign Country
IV. NATURE OF SUIT (Place an "X"' in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure H 422 Appeal 28 USC 158 L| 375 False Claims Act
120 Marine | 310 Airplane 365 Personal Injury - of Property 2! USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability 367 Health Care/ _ | _] 400 State Reapportionment
[_] 150 Recovery of Overpayment [_] 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
H 151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability 0 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product ca New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets x 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits = 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability 380 Other Personal ]720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) H 490 Cable/Sat TV
196 Franchise Injury OJ 385 Property Damage His Railway Labor Act 862 Black Lung (923) 850 Securities(Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |_ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
| REAL PROPERTY CIVIL RIGHTS 790 Other Labor Litigation 865 RSI (405(g)) | 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |_| 893 Environmental Matters
[_| 220 Foreclosure 441 Voting i | 463 Alien Detainee Income Security Act 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment | | 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | | 530 General | 871 IRS—Third Party H 899 Administrative Procedure
[]290 All Other Real Property [_] 445 Amer. w/Disabilities - [__] 535 Death Penalty | __IMMIGRATION _| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration |_| 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confi
V. ORIGIN (Place an “X” in One Box Only)
x 1 Original 2 Removed from 3 Remanded from oO 4 Reinstated or Oo 5 Transferred from 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional unless diversity):
VI. CAUSE OF ACTION /2¥SE 1691
Brief description of cause:
DENIAL OF GRANTS AND FORGIVABLE LOANS VIA THE ARPA
VII. REQUESTED IN [_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 800,000.00 JURY DEMAND: Llyes ]No
Vill. RELATED CASE(S) 5 J)
updated structions):
IF ANY = TUDGE NjA f DOCKET NUMBER N-A
DATE SIG E OF ATTORNEY OP?
10/09/2023 Use Qy (\) 0 - D4 z <
FOROFFICEUSEONLY Case 2:23-cv-01357-PP Filed 10/12/23. Page1lofi Document 1-1
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

